DOCUMENTS UNDER SEAL
                       Case 5:16-cr-00019-EJD Clear
                                               Document
                                                    Form 74 Filed 01/17/19 Page 1 10
                                                               TOTAL TIME (m ins):
                                                                                   of 1
M AGISTRATE JUDGE                           DEPUTY CLERK                               REPORTER/FTR
M INUTE ORDER                               P. Cromwell                              1:55-2:05
MAGISTRATE JUDGE                            DATE                                       NEW CASE        CASE NUMBER
Virginia K. DeMarchi                        January 17, 2019                                         16-cr-00019-EJD
                                                      APPEARANCES
DEFENDANT                                   AGE     CUST  P/NP   ATTORNEY FOR DEFENDANT                    PD.     RET.
Serjoe Mercado                                      Y          P       Graham Archer                       APPT.
U.S. ATTORNEY                               INTERPRETER                             FIN. AFFT            COUNSEL APPT'D
Susan Knight for Maia Perez                                                         SUBMITTED

PROBATION OFFICER            PRETRIAL SERVICES OFFICER                  DEF ELIGIBLE FOR          PARTIAL PAYMENT
                              A. Granados                               APPT'D COUNSEL            OF CJA FEES
                                       PROCEEDINGS SCHEDULED TO OCCUR
       INITIAL APPEAR             PRELIM HRG       MOTION           JUGM'T & SENTG                           STATUS
                                                                                                             TRIAL SET
       I.D. COUNSEL               ARRAIGNMENT               BOND HEARING             IA REV PROB. or         OTHER
                                                           Pretrial Violation        or S/R
       DETENTION HRG              ID / REMOV HRG            CHANGE PLEA              PROB. REVOC.            ATTY APPT
                                                                                                             HEARING
                                                     INITIAL APPEARANCE
        ADVISED                  ADVISED                   NAME AS CHARGED              TRUE NAME:
        OF RIGHTS                OF CHARGES                IS TRUE NAME
                                                          ARRAIGNM ENT
       ARRAIGNED ON                ARRAIGNED ON                READING W AIVED             W AIVER OF INDICTMENT FILED
       INFORMATION                 INDICTMENT                  SUBSTANCE
                                                         RELEASE
      RELEASED            ISSUED                     AMT OF SECURITY            SPECIAL NOTES            PASSPORT
      ON O/R              APPEARANCE BOND            $                                                   SURRENDERED
                                                                                                         DATE:
PROPERTY TO BE POSTED                            CORPORATE SECURITY                      REAL PROPERTY:
    CASH    $


      MOTION           PRETRIAL                 DETAINED           RELEASED        DETENTION HEARING          REMANDED
      FOR              SERVICES                                                    AND FORMAL FINDINGS        TO CUSTODY
      DETENTION        REPORT                                                      W AIVED
ORDER REMOVED TO THE DISTRICT OF
                                                              PLEA
   CONSENT                      NOT GUILTY                   GUILTY                    GUILTY TO COUNTS:
   ENTERED
   PRESENTENCE                  CHANGE OF PLEA               PLEA AGREEMENT            OTHER:
   REPORT ORDERED                                            FILED
                                                          CONTINUANCE
TO:                               ATTY APPT                  BOND                   STATUS RE:
                                  HEARING                    HEARING                CONSENT                TRIAL SET

AT:                               SUBMIT FINAN.              PRELIMINARY            CHANGE OF              STATUS
                                  AFFIDAVIT                  HEARING                PLEA
                                                             _____________
BEFORE HON.                       DETENTION                  ARRAIGNMENT             MOTIONS               JUDGMENT &
                                  HEARING                                                                  SENTENCING

       TIME W AIVED               TIME EXCLUDABLE            IDENTITY /             PRETRIAL               PROB/SUP REV.
                                  UNDER 18 § USC             REMOVAL                CONFERENCE             HEARING
                                  3161                       HEARING
                                                  ADDITIONAL PROCEEDINGS




                                                                                         DOCUMENT NUMBER:
